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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                )
                                         )
v.                                       )
                                         )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR., and               )
RICHARD W. GATES, III,                   )
                                         )
              Defendants.                )


          NOTICE OF CHANGE OF ADDRESS FOR THOMAS E. ZEHNLE

       PLEASE TAKE NOTICE that my mailing address has changed, effective

immediately, to the following address:

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Dated: February 9, 2018                  Respectfully submitted,



                                                       /s/
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